Case 5:22-cv-00171-JPB-JPM          Document 701    Filed 03/13/25     Page 1 of 1 PageID #:
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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     Wheeling


 MARK McEVOY, et al.,

                            Plaintiffs,

              v.                                         Civil Action No. 5:22-CV-171
                                                         Judge Bailey

 DIVERSIFIED ENERGY COMPANY PLC,
 et al.,

                            Defendants.


                                          ORDER

       For reasons appearing to the Court, the Final Approval Hearing is RESCHEDULED

 for April 7, 2025, at 11:00 a.m.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to all counsel of record herein.

       DATED: March 13, 2025.




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